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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

         Plaintiff,                           Case No. 1:20−cr−183

   v.                                         Hon. Robert J. Jonker

KALEB JAMES FRANKS,

         Defendant.
                                       /



                          NOTICE OF HEARING


TAKE NOTICE that a hearing has been scheduled as set forth below:

Type of hearing(s):   Change of Plea Hearing
Date/Time:            February 9, 2022 09:15 AM
Magistrate Judge:     Phillip J. Green
Place/Location:       499 Federal Building, Grand Rapids, MI




                                           PHILLIP J. GREEN
                                           U.S. Magistrate Judge

Dated: February 7, 2022          By:        /s/ Angie L. Doezema
                                           Courtroom Deputy
